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                                  UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF OHIO
                                          EASTERN DIVISION

In Re:                                                     Case No. 17-56551

                                                           Chapter 13
          Leonard James Dubois, Jr.,
                                                           Judge Mina Nami Khorrami

                 Debtor(s).                                NOTICE OF FINAL CURE PAYMENT

          Pursuant to Federal Rule of Bankruptcy Procedure 3002.1(f), the Chapter 13 Trustee, Faye D. English
files this Notice of Final Cure Payment indicating the amount required to cure the default on the claim listed below
has been paid in full.

Name of Creditor: U.S. Bank, N.A., not in its individual capacity but solely as trustee for RMTP Trust, Series
2021 BKM-TT
Last 4 Digits of Account Number: 6153
Real Property Located at: 101 Pleasantview Drive, Blacklick, OH

 Final Cure Amount(s)
 Court Claim No. 4-1
 Amount of Allowed Pre-Petition Arrearage: $441.38
 Amount Paid by the Trustee: $441.38

 Court Claim No.
 Amount of Allowed Post-Petition Arrearage:
 Amount Paid by the Trustee:


 Monthly Ongoing Mortgage Payment
 ☐ Mortgage was paid directly by Debtor(s)

 ☒ Mortgage was initially paid directly by Debtor(s) then paid through the Trustee as a conduit.
         Amount Paid by the Trustee: $60,106.08 (January 2018 through and including June 2022)

 ☐ Mortgage was paid through the Trustee as a conduit.
         Amount Paid by the Trustee: N/A

         Pursuant to Federal Rule of Bankruptcy Procedure 3002.1(g), within 21 days of the service of the Notice
of Final Cure Payment, the creditor shall file and serve on the Debtor, Debtor’s counsel and Trustee a statement
indicating (1) whether it agrees that the Debtor has paid in full the amount required to cure the default on the
claim; and (2) whether the Debtor is otherwise current on all payments consistent with 11 U.S.C. § 1322(b)(5).
The statement shall itemize the required cure or post-petition amounts, if any, that the creditor contends remain
unpaid as of the date of the statement. The statement shall be filed as a supplement to the creditor’s proof of claim
and is not subject to Rule 3001(f). If the creditor fails to provide any information required under Rule 3002.1(g),
the court may, after notice and a hearing, impose sanctions under Rule 3002.1(i).
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                                   CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Notice of Final Cure Payment was served (i)
electronically on the date of filing through the court’s ECF System on all ECF participants registered in
this case at the email address registered with the court and (ii) by first class mail on June 14, 2022
addressed to:

       Leonard James Dubois, Jr.
       101 Pleasantview Drive
       Blacklick, OH 43004

       U.S. Bank, N.A., as Trustee
       c/o Rushmore Loan Management Services
       PO Box 55004
       Irvine, CA 92619-2708

                                             /s/ Faye D. English
                                             Faye D. English (0075557), Chapter 13 Trustee
